
19 Ill. App.2d 220 (1958)
153 N.E.2d 245
John A. Amos, Appellant,
v.
Arthur A. Helwig, Appellee.
Gen. No. 47,292.
Illinois Appellate Court  First District, First Division.
September 29, 1958.
Released for publication October 23, 1958.
William T. Kirby and George D. Sullivan, Jr. for plaintiff-appellant.
James C. Leaton, Spencer E. Irons, McKinney, Leaton &amp; Smalley, for defendant-appellee.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE McCORMICK.
Affirmed.
Not to be published in full.
